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EXHIBIT “A”
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                                          IN THE STATE COURT OF COWETA COUNTY
                                                    STATE OF GEORGIA

             JENNIE ALSTON-WARNER,                                         )
                                                                           )
                             Plaintiff,                                    )       CIVIL ACTION FILE
                                                                           )       NO. ____________________
                                                                                        21SV0199E
             v.                                                            )
                                                                           )
             FAMILY DOLLAR STORES OF                                       )
             GEORGIA, LLC,                                                 )
                                                                           )
                                 Defendant.
                                                                     SUMMONS


             TO THE ABOVE NAMED DEFENDANTS:

                     You are hereby summoned and required to file with the Clerk of said Court and serve upon
             the Plaintiff=s attorney, whose name and address is:

                                                          Alton O. Josey, Esq.
                                                        Kenneth S. Nugent, P.C.
                                             4227 Pleasant Hill Road, Building 11, Suite 300
                                                        Duluth, Georgia 30096

             an answer to the complaint which is herewith served upon you within 30 days after service of
             this summons upon you, exclusive of the day of service. If you fail to do so, judgment by default
             will be taken against you for the relief demanded in the complaint.

                      26TH                      APRIL
             This _________ day of __________________, 2021.

                                                                                   Clerk of State Court




                                                                                          /s/Sheila W Echols
                                                                         By:       _________________________________
                                                                                   Deputy Clerk

             Instructions: Attach addendum sheet for additional parties if needed, make notation on this sheet if addendum sheet is used.

             COCSC-1 Revised 12-99




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                                                                             Clerk of State Court
                                                                                             4/26/2021 2:59 PM
                                                                                             Coweta County, GA
                                                                                             Sheila Echols, Clerk

                                    IN THE STATE COURT OF COWETA COUNTY
                                              STATE OF GEORGIA

             JENNIE ALSTON-WARNER,                          )
                                                            )
                            Plaintiff,                      )        CIVIL ACTION FILE
                                                                          21SV0199E
                                                            )        NO. ______________
             v.                                             )
                                                            )
             FAMILY DOLLAR STORES OF                        )
             GEORGIA, LLC,                                  )
                                                            )
                            Defendants.                     )

                                             COMPLAINT FOR DAMAGES

                    COMES NOW Jennie Alston-Warner, Plaintiff in the above-styled action, and brings this

             Complaint For Damages and respectfully shows this Court the following:

                                                                1.

                    The Plaintiff was at all times herein mentioned a resident of the State of Georgia.

                                                                2.

                    The Defendant, Family Dollar Stores of Georgia, LLC, (hereinafter “Defendant Family

             Dollar”), is a foreign limited liability company licensed to do business in the State of Georgia,

             and may be served with a copy of this Summons and Complaint through its agent for service,

             Corporation Service Company, 40 Technology Pkwy South, #300, Norcross, Georgia 30092.

                                                                3.

                    Defendant is subject to the jurisdiction of this Court and venue is proper in Coweta

             County.

                                                                4.

                    On or about the 20th day of October 2019, Defendant Family Dollar was the owner of the

             premises located at 159 Temple Ave, Suite A, Newnan, Georgia 30263 in Coweta County




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             (hereinafter “Subject Premises”).

                                                             5.

                    Defendant Family Dollar was responsible for maintaining the premises at said location at

             all times relevant to these proceedings.

                                                             6.

                    At all times herein mentioned, Defendant Family Dollar was responsible for warning

             individuals who entered the Subject Premises of any and all dangerous conditions that may have

             existed on the Subject Premises.

                                                             7.

                    At all times herein mentioned, Defendant Family Dollar was responsible for the

             cleanliness and upkeep to the Subject Premises so as to avoid injury to individuals who entered

             the Subject Premises.

                                                             8.

                    On or about the 20th day of October, 2019, the Plaintiff, Jennie Alston-Warner, went on

             the premises owned and/or controlled by the Defendants as a patron of the store.

                                                             9.

                    At all times herein mentioned, the Defendant negligently maintained an unsafe condition

             on the Subject Premises.

                                                             10.

                    At all times herein mentioned, the Defendant negligently maintained an unsafe condition

             of the premises by allowing items that had fallen off a display remain on the floor in an area

             being traversed by patrons.




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                                                               11.

                    At all times herein mentioned, the Defendant knew or should have known that the

             Subject Premises were in an unsafe condition.

                                                               12.

                    Prior to the injuries sustained by the Plaintiff, the Defendant, through its agents and

             employees, had actual notice that the Subject Premises were unsafe and dangerous and

             constituted an unsafe condition.

                                                               13.

                    The negligent condition of the Defendant’s premises had existed for a sufficient length of

             time so that in the exercise of reasonable care, Defendant should have known of such dangerous

             and unsafe condition.

                                                               14.

                    At no time did the Defendant place warning signs, markers or barriers to warn of said

             dangerous condition and the Defendant failed to otherwise warn or tell the Plaintiff of the

             existence of a dangerous condition.

                                                               15.

                    At all times herein mentioned, the Defendant failed to remedy the unsafe condition on the

             Subject Premises.

                                                               16.

                    On said date, while at the Subject Premises, Plaintiff fell as a result of the dangerous

             condition that existed on the Subject Premises.

                                                               17.

                    On said date, while at the Subject Premises, Plaintiff tripped and fell over boxes that had




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             fallen off a display onto the floor of the Subject Premises.

                                                              18.

                    Plaintiff did nothing to contribute to this incident.

                                                              19.

                    Defendant owed a duty to invitees, including Plaintiff, to exercise care and to keep the

             Subject Premises safe and to inspect and maintain the Subject Premises in a reasonably safe

             manner.

                                                              20.

                    Defendant knew or should have known that it was likely that injury would result to its

             invitees and other individuals on the Subject Premises if the unsafe condition of the premises

             was not corrected.

                                                              21.

                    Defendant breached a duty to the Plaintiff by failing to inspect and keep the property

             safe and free of hazards, thereby allowing the Subject Premises to remain in an unsafe condition.

                                                              22.

                    As a result of the defective condition of the Subject Premises owned by the Defendant

             Plaintiff suffered serious and painful injuries, for which she has incurred medical expenses, and

             physical and mental pain and suffering, and future medical expenses some or all of which will

             continue into the future.

                                                              23.

                    All of the injuries, losses, damages, past, present and prospective to Plaintiff were, are

             and will be due to the negligence and carelessness of the Defendant.




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                    WHEREFORE, Plaintiff prays and respectfully demands as follows:

                    a)      that process be served upon Defendant accordance with the law;

                    b)      that a jury trial be held on all issues;

                    c)      that judgment be awarded for Plaintiff against the Defendant for general damages

                            in an amount to be determined by the enlightened conscience of a fair and

                            impartial jury;

                    d)      that judgment be awarded for Plaintiff against the Defendant for those special

                            damages proven at trial; and

                    e)      judgment against the Defendants, and each of them for such other and further

                            relief as this Court deems appropriate.



                            This 26th day of April, 2021.



                                                                       Respectfully submitted,

                                                                       KENNETH S. NUGENT, P.C.


                                                                       /s/ Alton O. Josey___________
                                                                       Alton O. Josey, Esq.
                                                                       Attorney for Plaintiff
                                                                       Georgia Bar No. 965778


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